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JS-CAND 44 (Rev. 10/2020)
                                                                                  CIVIL COVER SHEET
The JS-CAND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved in its original form by the Judicial Conference of the United States in September 1974, is required for the Clerk of
Court to initiate the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                               DEFENDANTS
   Hillcrest Properties, LLC                                                                                    United States Postal Service
   (b) County of Residence of First Listed Plaintiff                                                            County of Residence of First Listed Defendant
        (EXCEPT IN U.S. PLAINTIFF CASES)                                                                        (IN U.S. PLAINTIFF CASES ONLY)
     King County                                                                                                NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                           THE TRACT OF LAND INVOLVED.
  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                       Attorneys (If Known)
   Gabriel G. Green                                   SBN: 222445
   1000 Wilshire Boulevard, Suite 1500                                                                                                                        '23CV1356 TWR BLM
   Los Angeles CA 90017
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                       and One Box for Defendant)
                                                                                                                                         PTF        DEF                                        PTF        DEF
      1 U.S. Government Plaintiff           3    Federal Question                                 Citizen of This State                    1          1       Incorporated or Principal Place      4           4
                                                 (U.S. Government Not a Party)
                                                                                                                                                              of Business In This State
                                                                                                  Citizen of Another State                  2           2     Incorporated and Principal Place     5           5
      2 U.S. Government Defendant           4     Diversity
                                                                                                                                                              of Business In Another State
                                                (Indicate Citizenship of Parties in Item III)     Citizen or Subject of a
                                                                                                                                            3           3     Foreign Nation                       6           6
                                                                                                  Foreign Country

IV.        NATURE OF SUIT (Place an “X” in One Box Only)
          CONTRACT                                                  TORTS                                       FORFEITURE/PENALTY                        BANKRUPTCY                     OTHER STATUTES
     110 Insurance                        PERSONAL INJURY                     PERSONAL INJURY                    625 Drug Related Seizure of          422 Appeal 28 USC § 158           375 False Claims Act
     120 Marine                                                                                                      Property 21 USC § 881            423 Withdrawal 28 USC             376 Qui Tam (31 USC
                                         310 Airplane                        365 Personal Injury - Product
     130 Miller Act                                                              Liability                       690 Other                                § 157                             § 3729(a))
                                         315 Airplane Product Liability
     140 Negotiable Instrument           320 Assault, Libel & Slander        367 Health Care/                                LABOR                     PROPERTY RIGHTS                  400 State Reapportionment
     150 Recovery of                     330 Federal Employers’                  Pharmaceutical Personal                                              820 Copyrights                    410 Antitrust
                                                                                                                 710 Fair Labor Standards Act
        Overpayment Of                       Liability                           Injury Product Liability                                                                               430 Banks and Banking
                                                                                                                 720 Labor/Management                 830 Patent
        Veteran’s Benefits                                                   368 Asbestos Personal Injury                                                                               450 Commerce
                                         340 Marine                                                                  Relations                        835 Patent─Abbreviated New
     151 Medicare Act                                                            Product Liability
                                         345 Marine Product Liability                                            740 Railway Labor Act                    Drug Application              460 Deportation
     152 Recovery of Defaulted                                               PERSONAL PROPERTY
                                                                                                                 751 Family and Medical               840 Trademark                     470 Racketeer Influenced &
         Student Loans (Excludes         350 Motor Vehicle
                                                                             370 Other Fraud                         Leave Act                                                              Corrupt Organizations
         Veterans)                       355 Motor Vehicle Product                                                                                    880 Defend Trade Secrets
                                                                             371 Truth in Lending                790 Other Labor Litigation               Act of 2016                   480 Consumer Credit
     153 Recovery of                         Liability
                                         360 Other Personal Injury           380 Other Personal Property         791 Employee Retirement                                                485 Telephone Consumer
        Overpayment                                                              Damage
                                                                                                                                                       SOCIAL SECURITY
                                         362 Personal Injury -Medical                                                Income Security Act                                                    Protection Act
     of Veteran’s Benefits                                                   385 Property Damage Product                                              861 HIA (1395ff)
                                             Malpractice                                                                                                                                490 Cable/Sat TV
     160 Stockholders’ Suits                                                     Liability                             IMMIGRATION                    862 Black Lung (923)
                                                                                                                                                                                        850 Securities/Commodities/
     190 Other Contract                                                                                                                               863 DIWC/DIWW (405(g))                Exchange
                                                                                                                 462 Naturalization
     195 Contract Product Liability                                                                                  Application                      864 SSID Title XVI                890 Other Statutory Actions
                                             CIVIL RIGHTS                    PRISONER PETITIONS
     196 Franchise                                                                                                                                    865 RSI (405(g))                  891 Agricultural Acts
                                         440 Other Civil Rights                 HABEAS CORPUS                    465 Other Immigration
                                         441 Voting                           463 Alien Detainee                     Actions                                                            893 Environmental Matters
       REAL PROPERTY                                                                                                                                  FEDERAL TAX SUITS
                                         442 Employment                       510 Motions to Vacate                                                                                     895 Freedom of Information
     210 Land Condemnation               443 Housing/                            Sentence                                                             870 Taxes (U.S. Plaintiff or          Act
     220 Foreclosure                        Accommodations                    530 General                                                                 Defendant)                    896 Arbitration
     230 Rent Lease & Ejectment          445 Amer. w/Disabilities-            535 Death Penalty                                                       871 IRS–Third Party 26 USC
                                                                                                                                                                                        899 Administrative Procedure
     240 Torts to Land                      Employment                                OTHER                                                               § 7609                            Act/Review or Appeal of
     245 Tort Product Liability          446 Amer. w/Disabilities–Other       540 Mandamus & Other                                                                                          Agency Decision
     290 All Other Real Property         448 Education                                                                                                                                  950 Constitutionality of State
                                                                              550 Civil Rights
                                                                                                                                                                                            Statutes
                                                                              555 Prison Condition
                                                                              560 Civil Detainee-
                                                                                  Conditions of
                                                                                  Confinement
V.        ORIGIN (Place an “X” in One Box Only)
     1 Original                       2 Removed from               3    Remanded from             4    Reinstated or         5   Transferred from               6 Multidistrict             7 Multidistrict
       Proceeding                       State Court                     Appellate Court                Reopened                  Another District (specify)       Litigation-Transfer         Litigation-Direct File


VI.       CAUSE OF Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
          ACTION   39 U.S. C. § 409(a)
                                Brief description of cause:
                   Defendants breached their lease contract and remain holdover tenants paying below market rent.
VII.      REQUESTED IN    CHECK IF THIS IS A CLASS ACTION       DEMAND $ 759,781.00            CHECK YES only if demanded in complaint:
                                                                                               JURY DEMAND:            Yes         No
          COMPLAINT:      UNDER RULE 23, Fed. R. Civ. P.

VIII. RELATED CASE(S),
                                   JUDGE                                                                               DOCKET NUMBER
        IF ANY (See instructions):
IX. DIVISIONAL ASSIGNMENT (Civil Local Rule 3-2)
(Place an “X” in One Box Only)     SAN FRANCISCO/OAKLAND                                                                          SAN JOSE                          EUREKA-MCKINLEYVILLE

DATE July 26, 2023                                         SIGNATURE OF ATTORNEY OF RECORD

                                                                                                                                                                                     American LegalNet, Inc.
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             INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS-CAND 44

Authority For Civil Cover Sheet. The JS-CAND 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and
service of pleading or other papers as required by law, except as provided by local rules of court. This form, approved in its original form by the Judicial
Conference of the United States in September 1974, is required for the Clerk of Court to initiate the civil docket sheet. Consequently, a civil cover sheet is
submitted to the Clerk of Court for each civil complaint filed. The attorney filing a case should complete the form as follows:
    I. a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
          only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
          then the official, giving both name and title.
     b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
        time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
        condemnation cases, the county of residence of the “defendant” is the location of the tract of land involved.)
     c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
        in this section “(see attachment).”
   II.   Jurisdiction. The basis of jurisdiction is set forth under Federal Rule of Civil Procedure 8(a), which requires that jurisdictions be shown in
         pleadings. Place an “X” in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         (1) United States plaintiff. Jurisdiction based on 28 USC §§ 1345 and 1348. Suits by agencies and officers of the United States are included here.
         (2) United States defendant. When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
         (3) Federal question. This refers to suits under 28 USC § 1331, where jurisdiction arises under the Constitution of the United States, an amendment
             to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code
             takes precedence, and box 1 or 2 should be marked.
         (4) Diversity of citizenship. This refers to suits under 28 USC § 1332, where parties are citizens of different states. When Box 4 is checked, the
             citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
             cases.)
   III. Residence (citizenship) of Principal Parties. This section of the JS-CAND 44 is to be completed if diversity of citizenship was indicated above.
        Mark this section for each principal party.
   IV. Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
       sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
       one nature of suit, select the most definitive.
    V.   Origin. Place an “X” in one of the six boxes.
         (1) Original Proceedings. Cases originating in the United States district courts.
         (2) Removed from State Court. Proceedings initiated in state courts may be removed to the district courts under Title 28 USC § 1441. When the
             petition for removal is granted, check this box.
         (3) Remanded from Appellate Court. Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
             date.
         (4) Reinstated or Reopened. Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         (5) Transferred from Another District. For cases transferred under Title 28 USC § 1404(a). Do not use this for within district transfers or
             multidistrict litigation transfers.
         (6) Multidistrict Litigation Transfer. Check this box when a multidistrict case is transferred into the district under authority of Title 28 USC
             § 1407. When this box is checked, do not check (5) above.
         (8) Multidistrict Litigation Direct File. Check this box when a multidistrict litigation case is filed in the same district as the Master MDL docket.
         Please note that there is no Origin Code 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in statute.
    VI. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
        statutes unless diversity. Example: U.S. Civil Statute: 47 USC § 553. Brief Description: Unauthorized reception of cable service.
    VII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Federal Rule of Civil Procedure 23.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
    VIII. Related Cases. This section of the JS-CAND 44 is used to identify related pending cases, if any. If there are related pending cases, insert the docket
          numbers and the corresponding judge names for such cases.
    IX. Divisional Assignment. If the Nature of Suit is under Property Rights or Prisoner Petitions or the matter is a Securities Class Action, leave this
        section blank. For all other cases, identify the divisional venue according to Civil Local Rule 3-2: “the county in which a substantial part of the
        events or omissions which give rise to the claim occurred or in which a substantial part of the property that is the subject of the action is situated.”
   Date and Attorney Signature. Date and sign the civil cover sheet.
                                                                                                                                     American LegalNet, Inc.
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